                Case 1:23-cr-00433-EK Document 36 Filed 12/28/23 Page 1 of 1 PageID #: 271
Federal Defenders                                                                                             Eastern District
                                                                          One Pierrepont Plaza, 16th Fl., Brooklyn, NY 11201

O F NEW YORK, INC .
                                                                                     Tel: (718) 330-1200 Fax: (718) 855-0760




 Barry D. Leiwant                                                                                      Eastern District of New York
Interim Executive Director                                                                               Michelle A. Gelernt
 and Attorney-in-Chief                                                                                 Interim Attorney-in-Charge




                                                                          December 28, 2023


             By ECF and Electronic Mail
             The Honorable Eric R. Komitee
             United States District Judge
             Eastern District of New York
             225 Cadman Plaza East
             Brooklyn, New York 11201


                                             Re:    United States v. Karony et al., 23-cr-433 (EK)


             Dear Judge Komitee:

                     I write to respectfully request that Thomas Smith be permitted to travel out of state for a
             work-related training to Evans, Georgia from January 7, 2024 through January 13, 2024. He will
             provide the precise location of the training and the hotel to Pre-trial Services in advance. Pre-
             trial Services and the government consent to this request.

                       Thank you for your consideration of this matter.


                                                                          Respectfully Submitted,
                                                                          _______/s/___________
                                                                          Kathryn Wozencroft
                                                                          Counsel to Thomas Smith
                                                                          Federal Defenders of New York Inc.

             cc:       AUSA Drew Rolle
                       AUSA John Enright
                       AUSA Matthew Galeotti
                       USPO Matthew Farwell
